                  Case 2:19-cv-11887-SSV-JVM Document 1-9 Filed 07/26/19 Page 1 of 1



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 The Source              for    Drones
                                                                                                                     EXHIBIT
  10902 l-10 East, Suite 2
  Baytown, Texas Z/523                                                           DATE        November 14,2018
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  To                                 BILLING ADDRESs                                TO       SHIPPING ADDRESS
Mike Swymm
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  Byron Smith




                      12t1t15            4-1050                   Phantom 3 Pro Accessories
                   11    / 15t 17        3155          Matrice 600 Pro, Case, Zenmuse X5, Spare LiPo's
                   17t 14t 17            18-1122             M600 LiPo's Sets, and Extra Chargers

                         1   t4t18       18-1133             M 600 D-RTK System, M6ft) LiPo Sets

                      1t31t18            cr,#l234      Matrice 600 Pro, RoninMX, Hassetblad A6D Combo
                      3121118            3242           M600 D-RTK System, Case, Lipo Sets, Chargers

                     7124t18             3303             Heavy   Lift Upgrade, LiPo Sets,   EMLID RTK




                                                                                               TOTAL DISCOUNT
